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                                          March 26, 2021

VIA ECF AND EMAIL
Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT)(SN) (S.D.N.Y.)

Dear Judge Torres:

        We write on behalf of Defendants Ripple Labs Inc. (“Ripple”), Bradley Garlinghouse, and
Christian A. Larsen (collectively “Defendants”), pursuant to Part III.A.ii of the Court’s Individual
Practices, in response to John E. Deaton’s March 19, 2021 letter (“Letter”). Six named individuals
seek to intervene in order to protect the interests of a putative class of “thousands” of “holders” of
XRP (“Intervenors”). See Mot. to Intervene at 1, ECF No. 65. Defendants, as the Court is aware,
are a privately-held company that is a pioneer in using blockchain technology to facilitate cross-
border payments instantly and more cheaply than incumbent methods, and the company’s current
and former CEOs.

        Defendants do not represent the interests of Intervenors as holders of XRP, a digital
currency that transacts on the decentralized XRP Ledger (which operates independently of Ripple).
However, Intervenors are correct that the SEC’s amended complaint fails to explain whether the
SEC has alleged and will seek to establish in this litigation that XRP is an investment contract per
se, and thus a security per se, or instead that Defendants’ sales of XRP resulted in an investment
contract based on the circumstances of those sales. Given this ambiguity, and the potential
precedential impact of this litigation on non-parties, Defendants agree that Intervenors should be
permitted to proceed with their motion to clarify this point.

I.     The SEC’s Allegations Have Seriously Harmed XRP Holders

        The concerns raised by Intervenors about the lack of clarity in the SEC’s theory of its case
are well-founded. For more than eight years, the SEC was content to allow XRP and its associated
technologies to evolve from a promising digital asset with superior functionality into the third-
largest digital currency in the world (after bitcoin and ether). During this time, market
participants – including Intervenors – reasonably believed that XRP was a digital asset falling
outside the regulatory authority of the SEC. Also during this time, the SEC was content to allow
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hundreds of companies independent of Ripple to develop products and use cases leveraging XRP
or its underlying technology, the XRP Ledger. 1 As a result, XRP is estimated to be held today by
millions of holders worldwide, with approximately $700 billion to $1 trillion in total trading
volume since 2013.

         The SEC included in its complaint conclusory allegations suggesting XRP is always a
security, and therefore that every offer, sale, or transaction involving XRP is subject to the panoply
of regulatory requirements mandated by the federal securities laws. E.g., Compl. ¶ 1, ECF No. 4
(XRP was “a digital asset security” “[f]rom at least 2013 through the present”); First Am.
Compl. ¶ 1, ECF No. 46 (same). Due to the resulting market uncertainty, XRP has been de-listed,
or trading halted, by nearly every digital asset exchange in the United States, and by numerous
other exchanges throughout the world. The filing of the SEC’s complaint resulted in the value of
circulating XRP declining by more than $15 billion, and the disruption of numerous innovative
applications of XRP. Based only on unproven allegations, the SEC has effectively shut down
trading by XRP holders over exchanges in the United States. And it has done so on the basis of a
complaint whose theory of liability is ambiguous at best, and at worst deliberately misleading so
as to arrogate for the SEC optionality as this litigation progresses.

        Intervenors highlighted the ambiguity in the SEC’s complaint, and filed suit in Rhode
Island, asking the SEC to “amend its complaint against Ripple to exclude present day XRP,
purchased by investors with no connection to Ripple or its executives.” Pet. for Writ of
Mandamus ¶ 89, ECF No. 1, Deaton v. Roisman, Case No. 1:21-cv-00001-WES-PAS (D.R.I. Jan.
1, 2021). The SEC refused. Intervenors voluntarily dismissed their suit in Rhode Island and now
seek relief here.

         Recently, Judge Netburn rightly identified this same ambiguity and asked the SEC whether
its position in this case is that “every individual in the world who is selling XRP [is] committing a
Section 5 violation.” Hr’g Tr. 44:7-9 (Mar. 19, 2021). The SEC did not dispute the premise of
her question, responding ambiguously that, “speaking very generally,” non-parties’ XRP
transactions would likely be exempt “under Section 4.” Id. at 44:10-24. By invoking the Section
4 exemption, which only applies to a “security” subject to registration under Section 5, the SEC
essentially confirmed that – regardless of the seller or circumstances of the sale – XRP is in its
view, per se, an investment contract and therefore a security per se. That premise – if
accepted – would empower the SEC to regulate vast numbers of non-parties, including digital asset
exchanges, vendors, and retail holders. This directly threatens the interests of Intervenors, whose
ability to transact in XRP could be impaired even though there is nothing about their conduct that



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          See, e.g., XRP Ecosystem, XRP Arcade (last visited Mar. 26, 2021),
https://www.xrparcade.com/xrpecosystem/.
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could plausibly make XRP an “investment contract” (and thus a security) in the context of this
litigation.

II.    The SEC Must Clarify Its Theory

         The SEC now has a chance in the face of the putative Intervenors’ Letter to confirm that
its suit is not intended to affect the secondary retail market for XRP in the United States. Despite
some broad language in the amended complaint, the SEC has at times suggested that its theory of
liability is indeed more limited, such that secondary-market sales and other transactions in XRP
would not be subject to the federal securities laws. See Mar. 9, 2021 Ltr. from J. Tenreiro at 1,
ECF No. 54 (stating that “the Court must decide a single issue – whether Ripple offered and sold
XRP as ‘investment contracts’” (emphasis added)). The amended complaint alleges that, under
SEC v. W.J. Howey & Co., 328 U.S. 293 (1946), the manner in which Defendants Ripple, Larsen,
and Garlinghouse marketed and sold XRP made their specific sales of XRP “investment contracts”
in Ripple and therefore “securities” under the federal securities laws. See First Am. Compl. ¶ 404,
ECF No. 46 (“Ripple’s offers and sales of XRP were part of the offer and sale of an investment
contract and thus a security” (emphasis added)). These allegations invite a fact-specific
determination about, among other things, the economic substance of Defendants’ promotional
efforts and the expectations that Defendants themselves allegedly created among purchasers of
XRP. See id. ¶¶ 230-281. They also focus on alleged historical facts about Defendants’ conduct.
See id. This may explain why the SEC failed to move for preliminary injunctive relief in this case.
Reaffirming this narrow theory of liability, and clarifying that the SEC does not seek to establish
that XRP is, per se, an investment contract, would minimize any interest Intervenors have in the
outcome of this litigation.

        Clarifying the SEC’s theory in this manner is also consistent with the non-conclusory
allegations in the complaint. The SEC has not alleged – because it cannot – that there is anything
inherent in XRP that results in every sale of XRP, by any person, involving a sale of an investment
contract. Nowhere does the complaint allege that holding XRP creates any ownership interest in
Ripple. Nor does the complaint allege that any sellers of XRP – other than Defendants – engaged
in any promotional activities whereby the economic substance of their sales of XRP could qualify
as sales of investment contracts. Intervenors are not affiliates of Defendants; they purchased XRP
in open-market transactions in which the seller was unknown. Intervenors’ use of XRP, and their
right to exercise decision-making authority over their XRP holdings, are also made independently
of Ripple, as Intervenors expressly represent. See Letter at 4 (listing as examples, among others,
the use of XRP-backed debit cards for everyday purchases at major retailers, for international
money transfers, and for payments at “over a thousand businesses” that accept XRP for their sales,
all “without Ripple’s knowledge or input”). In short: the non-conclusory allegations in the
complaint are limited to Defendants’ historical conduct, and do not involve Intervenors at all.
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III.     Defendants’ Position On Proposed Intervenors’ Participation In This Litigation
         Depends Upon The SEC’s Response

         The foregoing demonstrates that Intervenors’ rights under Rule 24 are largely dependent
on the theory of liability the SEC intends to pursue. If the SEC confirms that it will seek to
establish only that the manner in which Defendants marketed and sold XRP determines whether
their sales of XRP were an investment contract, and that it will not seek to establish that secondary-
market XRP transactions violate the Securities Act or the Securities Exchange Act, Intervenors’
need for participation in this matter may be limited. If, however, the SEC continues to equivocate
and refuses to clearly state its position on these issues, Intervenors’ interest in the outcome of this
litigation could be different. Whatever the SEC’s position, Defendants do not object to Intervenors
filing their motion under Rule 24. But Defendants take no position at this time as to whether
intervention or some other, more limited, participatory rights – such as “elevated amicus
status” – are appropriate. 2




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            Defendants take no position at this time on Intervenors’ proposed motion other than to indicate that
Defendants would object to any intervention that would cause undue delay or make these proceedings unnecessarily
complex, unwieldy, or prolonged. That said, courts have wide discretion in adjudicating motions for intervention. See
Rios v. Enter. Ass’n Steamfitters Loc. Union No. 638 of U A., 520 F.2d 352, 355 (2d Cir. 1975) (“The district court is
entitled to the full range of reasonable discretion in determining whether the[ ] requirements [for intervention as of
right] have been met.”); Gallagher v. N.Y. State Bd. of Elections, No. 20 CIV. 5504 (AT), 2020 WL 4261172, at *1
(S.D.N.Y. July 23, 2020) (“[P]ermissive intervention is wholly discretionary with the trial court.” (alteration in
original) (quoting U.S. Postal Serv. v. Brennan, 579 F.2d 188, 191 (2d Cir. 1978))); see also Lehman XS Tr., Series
2006-GP2 v. Greenpoint Mortg. Funding, Inc., No. 12 CIV. 7935 ALC, 2014 WL 265784, at *2 (S.D.N.Y. Jan. 23,
2014) (participation as amici curiae would permit proposed intervenors to “aid [ ] the court and offer insights” by
filing briefs and presenting arguments that “respond to the issues presented by the parties”); United States v. Hooker
Chems. & Plastics Corp., 749 F.2d 968, 992 (2d Cir. 1984) (Friendly, J.) (endorsing district court’s offer of “elevated
amicus status” after denying motion to intervene).
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